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June 13, 2023 j crs] amen
BY ECF

Honorable Judge Colleen McMahon
United States District Court

Southern District of New York O K, Corterence A 4 journed,
500 Pearl Street, Room 24A

New York, NY 10007-1312 atte. of so

Re: Tonimarie Rhone v. Unemployed Philosophers, Inc. (1:23-cv-02432-CM)

To the Honorable Judge Colleen McMahon,

The Plaintiff submits this letter motion respectfully requesting an adjournment of the
Initial Pre Trial-Conference currently set for June 15, 2023 pursuant to Your Honor’s Order
dated March 28, 2023 (Dkt #5). The counsel for the Plaintiff has been recovering from
hospitalization due to Covid pneumonia and has not had an opportunity to confer with opposing
counsel. (Documentation available upon request) Plaintiff respectfully requests a short
adjournment of the initial pretrial conference so that the parties may confer and submit the pre-
IPTC submission per Your Honor’s Orders. This is the first time this relief is being requested.

The Plaintiff wishes to thank Your Honor and this Court for the time and attention to this matter.

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Respectfully submitted,

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/s/ Noor A. Saab, Esg. || pOCUMENT
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